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            EXHIBIT F
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Carbone, Elizabeth A

Subject:                          FW: Hi, Paul Kane we have updated your case: #00710342. Click the survey link to
                                  provide immediate feedback regarding your case ref:_00D00hgTi._500f31D1Utq:ref




From: Paul Kane
Sent: Tuesday, April 10, 2018 4:58 PM
To: Peter Brooks <pbrooks@redidata.com>; Robert Dyrsten <RDyrsten@stayinfront.com>
Subject: FW: Hi, Paul Kane we have updated your case: #00710342. Click the survey link to provide immediate feedback
regarding your case ref:_00D00hgTi._500f31D1Utq:ref

Silverpop is not an option to send emails.

From: Silverpop Client Services [mailto:email2caseod@silverpop.com]
Sent: Tuesday, April 10, 2018 4:55 PM
To: Paul Kane <pkane@stayinfront.com>
Subject: Hi, Paul Kane we have updated your case: #00710342. Click the survey link to provide immediate feedback
regarding your case ref:_00D00hgTi._500f31D1Utq:ref




                                                                                           Forgot Password
           Dear Paul,




                                                           1
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   Please let us know if you would prefer we call you instead of communicating via email for case #
   00710342 . You may also check the IBM Watson Campaign Automation Client Support Portal for
   recent comments and updates related to your case.

   Wish to provide immediate feedback regarding our handling of your issue? Survey
   Contact                                                           Case Reason
   Paul                                                              Deliverability
   Account                                                           Product
   Redi-Data, Inc                                                    Engage Pod 1
   Email                                                             Phone
   pkane@stayinfront.com                                             973-461-4800
   Subject
   mail8669.hcpeupdate1.com | 129.41.172.45 is on a Spamhaus Blacklist.
   Description
   A mailing in the last 24 hours generated a spam complaint and a blacklisting at
   Spamhaus.

   You can see the complaint here:

   https://www.spamhaus.org/query/ip/129.41.172.45
   https://www.spamhaus.org/dbl/removal/record/hcpeupdate1.com

   We have cleared your queue of any unsent messages and shut your server down
   so that it cannot send mail until this issue is addressed. As long as your IP
   address is on this blacklist, you will not be able to send email. In order to get the
   listing removed by Spamhaus we need to provide them with some answers.

   In order to get your IP removed from the Spamhaus blacklist, we need to
   determine the reason for the high number of spamtraps hit.

   If this is a regular mailing list that has been sent to regularly over a long period of
   time, than the issue is likely due to list hygeine - we strongly advise cleaning out
   the old/inactive mailboxes and focusing on sending to active openers/clickers.

   The other reasons for high number of spamtraps could be: different or old data, a
   different or unique query that pulled the problem data, a purchased or rented list,
   etc. If this is the case, Spamhaus will want to know what you are going to do to
   clean up the old data and to make sure the spamtrap hits are eliminated for future
   mailings.

   We will need to provide answers to Spamhaus's questions regarding what kind of
   data was used and how we intend to eliminate the spamtrap hits.
   Latest Comments

   4/10/2018

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   Mr Kane,

   Thank you for your patience while we have been attempting to help resolve your issue.

   I have been made aware of this case and the situation at hand with you being black listed at
   SPAMHAUS across multiple domains and IPs. This is not a simple matter that cleaning your data
   is going to fix or remedy that would result in SPAMHAUS removing the black listing. Your data
   hygiene is not the issue at this point.

   At this time, we cannot take any proactive actions to allow you to resume sending on your VMTA's
   that we have paused until SH removes the listing. We have no control over SH as they control this
   listing and they require that the registered owner of the domains make the de-listing requests.

   I have been in contact with your CSM, William Pinho, and have a call scheduled for Friday morning
   to bring him fully up to speed on the situation so that we can discuss the next steps. We will be in
   touch with you after this conversation so that we can discuss the next steps with you.

   Regards,
   Jesse T (JT) Beckham
   WW Manager, Deliverability Services
   IBM Watson Campaign Automation
   IBM Watson Customer Engagement

   Case Submitted By: Jesse Beckham jbeckham@us.ibm.com

                                          Alerts & Notifications

     Please log in to the IBM Watson Campaign Automation, Client Support Portal to review
                                    recent case comments.

            Your Support Specialist may ask you to add additional information to your case.
      If more information is needed, you may add related case details and upload attachments by
         accessing your case via the IBM Watson Campaign Automation, Client Support Portal.

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